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                              UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF TEXAS
                                            Fort Worth Division

UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE

v.                                                          Case Number: 4:19-CR-00137-O(01)
                                                            U.S. Marshal’s No.: 58362-177
MICHAEL KYLE SEWELL                                         J. Stevenson Weimer, Assistant U.S. Attorney
                                                            Brook Antonio, Attorney for the Defendant


       On May 8, 2019 the defendant, MICHAEL KYLE SEWELL, entered a plea of guilty as to Count One of
the Information filed on May 1, 2019. Accordingly, the defendant is adjudged guilty of such Count, which
involves the following offense:

Title & Section                      Nature of Offense                                  Offense Ended       Count
18 U.S.C. § 2339B                    Conspiracy to Provide Material Support to a        5/01/2019           One
                                     Designated Foreign Terrorist Organization


       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to Title 18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing
Commission pursuant to Title 28, United States Code § 994(a)(1), as advisory only.

       The defendant shall pay immediately a special assessment of $100.00 as to Count One of the
Information filed on May 1, 2019.

       The defendant shall notify the United States Attorney for this district within thirty days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid.


                                                         Sentence imposed September 16, 2019.




                                                         ____________________________________________
                                                         REED O’CONNOR
                                                         U.S. DISTRICT JUDGE


                                                         Signed September 17, 2019.
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                                              IMPRISONMENT

        The defendant, MICHAEL KYLE SEWELL, is hereby committed to the custody of the Federal Bureau
of Prisons (BOP) to be imprisoned for a term of Two Hundred Forty (240) months as to Count One of the
Information filed on May 1, 2019.

       The defendant is remanded to the custody of the United States Marshal.

                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
Thirty (30) years as to Count One of the Information filed on May 1, 2019.

       While on supervised release, in compliance with the standard conditions of supervision adopted by the
United States Sentencing Commission, the defendant shall:

( 1)   not leave the judicial district without the permission of the Court or probation officer;
( 2)   report to the probation officer as directed by the Court or probation officer and submit a truthful
       and complete written report within the first five (5) days of each month;
( 3)   answer truthfully all inquiries by the probation officer and follow the instructions of the
       probation officer;
( 4)   support the defendant's dependents and meet other family responsibilities;
( 5)   work regularly at a lawful occupation unless excused by the probation officer for schooling,
       training, or other acceptable reasons;
( 6)   notify the probation officer within seventy-two (72) hours of any change in residence or
       employment;
( 7)   refrain from excessive use of alcohol and not purchase, possess, use, distribute, or administer any
       narcotic or other controlled substance, or any paraphernalia related to such substances, except as
       prescribed by a physician;
( 8)   not frequent places where controlled substances are illegally sold, used, distributed, or
       administered;
( 9)   not associate with any persons engaged in criminal activity and not associate with any person
       convicted of a felony unless granted permission to do so by the probation officer;
(10)   permit a probation officer to visit the defendant at any time at home or elsewhere and permit
       confiscation of any contraband observed in plain view by the probation officer;
(11)   notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
       law enforcement officer;
(12)   not enter into any agreement to act as an informer or a special agent of a law enforcement agency
       without the permission of the Court; and,
(13)   notify third parties of risks that may be occasioned by the defendant's criminal record or personal
       history or characteristics, and permit the probation officer to make such notifications and to
       confirm the defendant's compliance with such notification requirement, as directed by the
       probation officer.
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     In addition the defendant shall:

     not commit another federal, state, or local crime;

     not possess illegal controlled substances;

     not possess a firearm, destructive device, or other dangerous weapon;

     cooperate in the collection of DNA as directed by the U.S. probation officer;

     report in person to the U.S. Probation Office in the district to which the defendant is released from the
     custody of the Federal Bureau of Prisons within 72 hours of release;

     refrain from any unlawful use of a controlled substance, submitting to one drug test within 15 days of
     release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation
     officer pursuant to the mandatory drug testing provision of the 1994 crime bill;

     participate in mental health treatment services as directed by the probation officer until successfully
     discharged, which services may include prescribed medications by a licensed physician, with the
     defendant contributing to the costs of services rendered (copayment) at a rate of at least $25 per month;

     participate and comply with the requirements of the Computer and Internet Monitoring Program,
     contributing to the cost of the monitoring in an amount not to exceed $40 per month. The defendant
     shall consent to the probation officer's conducting ongoing monitoring of his computer/computers. The
     monitoring may include the installation of hardware and/or software systems that allow evaluation of
     computer use. The defendant shall not remove, tamper with, reverse engineer, or circumvent the
     software in any way. The defendant shall only use authorized computer systems that are compatible with
     the software and/or hardware used by the Computer and Internet Monitoring Program. The defendant
     shall permit the probation officer to conduct a preliminary computer search prior to the installation of
     software. At the discretion of the probation officer, the monitoring software may be disabled or removed
     at any time during the term of supervision;

     submit to periodic, unannounced examinations of his computer/computers, storage media, and/or other
     electronic or Internet-capable devices, performed by the probation officer at reasonable times and in a
     reasonable manner based on reasonable suspicion of contraband evidence of a violation of supervision.
     This may include the retrieval and copying of any prohibited data and/or the removal of such system for
     the purpose of conducting a more thorough inspection. The defendant shall provide written authorization
     for release of information from the defendant's Internet service provider;

     not access any Internet Service Provider account or other online service using someone else's account,
     name, designation, or alias;

     not use any computer other than the one the defendant is authorized to use without prior approval from
     the probation officer; and,
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     not use any software program or device designed to hide, alter, or delete records and/or logs of the
     defendant's computer use, Internet activities, or files stored on the defendant's computer.



                                               FINE/RESTITUTION

     The Court does not order a fine or costs of incarceration because the defendant does not have the
     financial resources or future earning capacity to pay a fine or costs of incarceration.

     Restitution is not ordered because there is no victim other than society at large.


                                                      RETURN

            I have executed this judgment as follows:




            Defendant delivered on _____________________ to ___________________________________

     at ________________________________________________, with a certified copy of this judgment.


                                                        United States Marshal

                                                        BY
                                                        Deputy Marshal
